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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

MICHAEL HAWKINS                                           §
                                                          §
vs.                                                       §                    Civil Action No. 3:23-cv-00369
                                                          §
HOME DEPOT U.S.A., INC.                                   §                               JURY DEMANDED

                              AMENDED THIRD PARTY COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW, HOME DEPOT U.S.A., INC., Defendant herein, and files this its Amended

Third-Party Complaint 1 against Eclipse Advantage, LLC and as grounds therefore, would

respectfully show unto the Court as follows:

                                                       I.
                                                    PARTIES

1. Plaintiff Michael Hawkins is an individual residing in Tarrant County, Texas.

2. Third-Party Plaintiff, at the time this action was commenced was and still is a domestic

      corporation organized under the laws of the State of Delaware with its principal place of

      business in Atlanta, Georgia.

3. Eclipse Advantage, LLC, is an entity formed in the State of Delaware who may be served with

      process through its registered agent, CT Corporation System, 1999 Bryan Street, Suite 900,

      Dallas, Texas 75201-3136 and/or through Robert J. Miggins and/or Pete Westermann at 7370

      Cabot Court, Suite 101, Melbourne, Florida 32940 or 6905 N. Wickham Road, Suite 405,

      Melbourne, FL 32940 or 7185 Murrell Road, Suite 101, Melbourne, Florida 32940. Third-



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  By this Third-Party Complaint, Third-Party Plaintiff makes no admission of any of the Plaintiff’s contentions and
continues to deny the allegations in whole. However, Plaintiff’s allegations are presented herein to the extent that
they form the basis for the Third-Party claims and Third-Party Plaintiff requires said allegations to be proven as
required by law.


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   Party Plaintiff requests that the clerk issue citation and return said citation to the undersigned

   counsel to effect service of process upon Eclipse Advantage, LLC.

                                       II.
                        NATURE AND STAGE OF PROCEEDINGS

4. This case is set for trial June 4, 2024 (Doc. 16). The lawsuit was filed in Dallas County, Texas

  on January 6, 2023, and removed to federal court on the basis of diversity of citizenship.

                                              III.
                                             FACTS

5. Third-Party Plaintiff (hereinafter "Home Depot") is a home improvement retail corporation

   that sells tools, construction products, appliances, and services, including fuel and

   transportation rentals. In conjunction with its stores, Home Depot owns warehouses that are

   used to supply stores with good. Third-Party Defendant Eclipse contracted with Home Depot

   to supply trained labor for the operation of the warehouse. Plaintiff Hawkins was an employee

   of Eclipse on the date of the Incident (April 30, 2022) when Hawkins was moving good with

   a reach truck and caused some goods to fall out of the containers being moved. Hawkins

   alleges that one of the products hit him after he abandoned his operator’s seat. Hawkins has

   asserted a premises liability claim against Home Depot.

6. Home Depot entered into a Master Service Agreement (“Agreement”) with Eclipse Advantage,

   LLC (“Eclipse”) on May 24, 2018. Exhibit 1. Pursuant to the terms of the Agreement, Eclipse

   is to provide qualified personnel to perform certain services described as “resources to assist

   Home Depot at the Dallas, Texas, Direct Fulfillment Distribution Center.” Exhibit 1, Exhibit

   A to same. The Agreement further requires that Eclipse indemnify and defend Home Depot

   from and against any and all claims or allegations, including any made by Eclipse’s Staff.

   Exhibit 1, Par. 7.1. “Staff” includes Eclipse’s employees (Exhibit 1, Par. 1.3). In addition,




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   Eclipse is required to defend and indemnify Home Depot for any personal injury arising out of

   Eclipse’s acts or omissions which would include its employee’s work. The Agreement

   specifically requires:


         7.     INDEMNIFICATION.

          7.1     To the maximum extent allowed by law, Vendor and any affiliate of
          Vendor that, directly or indirectly, controls Vendor (including their
          respective directors, officers, employees and agents) (collectively,
          "Indemnitor") will indemnify and defend Home Depot and its directors, officers,
          employees, and agents (the "Indemnitees"), from and against any and all
          claims or allegations (including those made by Vendor's directors,
          officers, and Staff), losses, damages, suits, fees, judgments, costs and
          expenses (collectively referred to as "Claims"), including reasonable
          attorneys' fees and expenses incurred in responding to such Claims, that the
          Indemnitees may suffer or incur arising out of or in connection with (a) the
          Indemnitor's alleged negligence, willful misconduct, or breach of any
          representation, warranty, or other obligation under this Agreement; (b)
          the Indemnitees' use in accordance with this Agreement of Work Product or
          other material provided by Indemnitor that infringes or violates any patent,
          copyright, trade secret, trademark, or other intellectual property right
          (collectively, "IP Rights"); or (c) any personal injury (including death) or
          damage to property allegedly arising out of the Indemnitor's acts or
          omissions.

(emphasis added)

7. The agreement also required that Eclipse procure commercial general liability insurance

   coverage naming Home Depot as an additional insured. Exhibit 1, Exhibit E thereto.

8. Home Depot has made numerous demands on Eclipse (Exhibit 2) as well as to the insurer for

   Eclipse (Exhibit 3) to defend, indemnify and provide insurance for the claims of Eclipse’s

   employee Plaintiff Hawkins that arose from Eclipse’s failure to provide qualified personnel

   including but not limited to Eclipse’ failure to train Hawkins on the proper and safe operation

   of a reach truck in the warehouse and proper and safe movement of products within the

   warehouse.




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                                             IV.
                                      CAUSES OF ACTION

                                  Count One: Breach of Contract

9. Third-Party Plaintiff re-alleges the allegations contained in Paragraphs 1 through 8, inclusive

   and incorporates them by reference as though fully set forth herein. Third-Party Plaintiff

   entered into a valid and enforceable subcontract with Third- Party Defendant in which Third-

   Party Defendant agreed to defend, indemnify and hold harmless Third-Party Plaintiff from any

   and all claims, liability, damages, costs, expenses and attorney fees arising out of or from the

   work performed. Third-Party Defendant has breached the Subcontract Agreement by failing to

   defend Third-Party Plaintiff in the above lawsuit. Third-Party Defendant also agreed to name

   Third-Party Plaintiff on an insurance policy in the amount of $2 million in commercial general

   liability coverage. In the unlikely event that Plaintiff is awarded a judgment against Third-

   Party Plaintiff, Third-Party Plaintiff is entitled to judgment against Third-Party Defendant for

   breach of the Subcontract Agreement, in the amount of such damages for which Third-Party

   Plaintiff is found liable to Plaintiff. Third Party Defendant’s breach proximately caused

   damages to Third-Party Plaintiff for which it now sues to recover.

                                       Count Two: Indemnity

10. Third-Party Plaintiff hereby re-alleges the allegations contained in Paragraphs l through 9,

   inclusive and incorporates them by reference as though fully set forth herein. Plaintiff seeks

   recovery against Third-Party Plaintiff for damages that resulted from an alleged premises

   defect on or around the jobsite at issue. Third-Party Plaintiff denies any and all liability to

   Plaintiff in this cause, but expressly alleges that if any liability be established against it, that it

   should have judgment for contractual indemnity against Third Party Defendant. Third-Party

   Plaintiff entered into a Subcontract Agreement with Third-Party Defendant for work at the



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   warehouse. Said Subcontract Agreement contained an indemnity clause obligating Third-Party

   Defendant to defend, indemnify and hold harmless Third-Party Plaintiff. Pursuant to the

   express indemnity obligations of said Third-Party Defendant, Third-Party Plaintiff is entitled

   to contractual indemnification for the damages caused by the failure of Third-Party Defendant

   to comply with the terms of the subcontract.

11. Accordingly, Third-Party Plaintiff is entitled to contractual indemnification from Third- Party

   Defendant.

                                       Count 3: Negligence

12. Eclipse owed a duty of care to Plaintiff Hawkins. The independent conduct of Eclipse Signs

   constitutes negligence as that term is known in law. Such negligent acts and/or omissions

   and/or intentional conduct include but are not limited to the following:

       a. Accidentally and/or with reckless disregard for the safety of Plaintiff, Eclipse failed to

       adequately train the Plaintiff on how to operate equipment;

       b. Accidentally and/or with reckless disregard for the safety of Plaintiff; Eclipse failed to

       adequately train Plaintiff on how to perform his job functions in a safe manner;

       c. Accidentally and/or with reckless disregard for the safety of Plaintiff; Eclipse failed to

       ensure Plaintiff used proper techniques at the jobsite to ensure his safety;

       d. Accidentally and/or with reckless disregard for the safety of Plaintiff, Eclipse failed

       to properly supervise the performance of the Plaintiff and others employed or under the

       supervision of Third Party Defendant prior to and during their work at the jobsite;

       e. Accidentally and/or with reckless disregard for the safety of Plaintiff, Eclipse failed to

       adequately train the Plaintiff on how to move carts and product.

13. One or more of the foregoing negligent acts and/or omissions on the part of Eclipse was a




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   proximate cause of the Plaintiff’s claimed injuries and/or damages.

                                  CONDITIONS PRECEDENT

14. All of the conditions precedent to Third-Party Plaintiff’s right to bring these claims against

   Third-Party Defendant have been performed, have occurred, or have been excused.

                             ATTORNEYS’ FEES AND INTEREST

15. Third-Party Plaintiff is entitled to attorneys’ fees pursuant to Chapter 38 of the Texas Civil

   Practices and Remedies Code, as well as other costs incurred by it through trial and any appeal

   in pursuit of all claims and defense in this lawsuit.

16. Third-Party Plaintiff would further show that it is entitled to recover all pre-judgment and post-

   judgment interests allowed by law.

                                              V.
                                          CONCLUSION

       WHEREFORE, PREMISES CONSIDERED, Third-Party Plaintiff seeks monetary relief

over $1,000,000 and prays that Third-Party Defendant be cited to appear and answer herein.

Further, Third-Party Plaintiff requests that judgment be awarded in favor of Third-Party Plaintiff

and against Third-Party Defendant for the following relief:

       1. Breach of contract;

       2. For indemnity of all damages that Plaintiff recovers from Third-Party Plaintiff by way

       of judgment, order, settlement, compromise, or trial;

       3. For reasonable attorneys’ fees, expert fees and costs;

       4. Pre-judgment and post-judgment interest, as allowed by law; and

       5. For such other and further relief as the Court may deem just and proper.




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                                   Respectfully submitted,

                                   BROTHERS, ALVARADO, PIAZZA & COZORT, P.C.


                                   By:    /s/ Karen M. Alvarado_______
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                                          Attorneys for Defendant Home Depot U.S.A., Inc.


                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
served upon the following counsel of record in compliance with Rule 5 of the Federal Rules of
Civil Procedure on this the 7th day of December, 2023, as follows:

         VIA E-SERVICE
         C.J. Baker
         Emily Faber Vechan
         Adam Grable
         ARMSTRONG LEE & BAKER LLP
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         Houston, Texas 77092

                                   BROTHERS, ALVARADO, PIAZZA & COZORT, P.C.

                                   By:    /s/ Karen M. Alvarado_______
                                          Karen M. Alvarado




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